Case 3:19-mc-80005-SK Document 8-2 Filed 03/26/19 Page 1 of 2




       Exhibit A
              Case 3:19-mc-80005-SK Document 8-2 Filed 03/26/19 Page 2 of 2




WHAT GIFT CAN WE GIVE TO JEHOVAH?
JESUS once said: "There Is more       "Honor Jehovah with your valu­      not to overlook giving our gift to
happiness In giving than there Is     able things." Our •valuable         Jehovah? The apostle Paul told
In receiving." (Acts 20:35) That      things· Include ou-r time, our      the Corinthians to ·set some­
basic truth applies to our rela­      talents, our strength, and our      thing aside" as a contribution.
tionship with Jehovah. Why so?        material assets. When we use        (1 Cor. 16:2) What can you do If
Jehovah has given us many             such resources to advance true      you want to get more Informa­
gifts that make us happy, but         worship, we are glvlng Jehovah      tion about the methods of do­
we can derive even greater hap­       a gift, and doing so brings us      nation that are available In your
piness by giving a gift to Jeho­      great happiness.                    area? Please see the box below.
vah. What gift can we give to            When It comes to our materi­
Jehovah? Proverbs 3:9 says:           al resources, what will help us




                                             An Easy Way
                                             to Make Online Donations


       EASY TO FIND                                            EASY TO USE

                                                             Make a onetime donation,
                     Type donate.jw.org                      or set up a recurring donation to:
                     in a web browser
                                                             ■ Worldwide Work
                                                             • Your Congregation


       II
                                                             ■ Regional Convention
                     On the JW Library® home page,           ■ Circuit Assembly
                     click on the "Donations" link



     Online donations cannot be made in all countries. However. Information on other ways to donate
     can be found on the donations web page. In some countries. a document on that page provides
     answers to frequently asked questions about donations.


             D m,igazlne
               Fr.., downloads of this
             I"\         and othor
                                          � You can also rNd the
                                            New World Tmnslat/on
                                                                          Visit www.jw.org,
                                                                          or scan code
             '• ' l)Ubllcatlons aro         onllne
                   avallablo
